Case 2:04-cV-0214O-.]DB-tmp Document 32 Filed 08/09/05 Page 1 of 3 Page|D 41

LED§FJ
IN THE UNITED STATES DISTRICT COURT F| 3

 

FOR THE WESTERN DISTRICT OF TENNESSEE zmmAUG*Q PHiZ:@S

WESTERN DIVISION

   

_LJ,_\H"¢_ …

,, W… '-_f.» }'

CECIL JOHNSON,
Plaintiff,
vs. Civ. No. 04-2140-B[P

CADILLAC OF MEMPHIS, et al.,

Defendants.

'-_#`-r'~.¢v\.¢~_¢\~..¢\_¢\\_¢'~_d-._r

 

ORDER GRANTING IN PART PLAINTIFF'S MOTION TO SUBPOENA WITNESS

 

Before the court is plaintiff's Motion to Subpoena Witness,
filed August 4, 2005 (Dkt #29). On August 9, 2005, the court held
a telephone conference with Johnson and counsel for the defendants.
At the conference, the parties agreed that at the pretrial
conference before District Judge Breen on August 4, 2005, Judge
Breen informed Johnson that he would be solely responsible for
securing his own witnesses for trial, which is set for August 15,
2005.

The court GRANTS plaintiff's motion in part, and hereby
directs the Clerk‘s Office to issue trial subpoenas for the
following individuals: James Gordon, Mark Chambers, Jimmy Smith,
Adam Dewayne Bobo, Jesse Russell, Steve Haywood, Orlando Ship,
Chris Blaylock, and Gary Blaylock. Again, Johnson will be solely

responsible for securing these witnesses for trial.

This document entered on the docket aheet '\n compliance

. n ;;`UHT 639

with Flule 58 and/or 79(3) FRCP on " 32/

Case 2:O4-cV-O214O-.]DB-tmp Document 32 Filed 08/09/05 Page 2 of 3 Page|D 42

The plaintiff has withdrawn his request for subpoenas for
Wesley Burrows and Andrea Lawrence. As for Gary Davis and EEOC
Investigator Dewayne W. Johnson, the court finds that their
proposed testimony are not relevant to the claims and defenses at

issue in this case, and therefore Johnson's request for subpoenas

l:%

TU M. PHAM
United States Magistrate Judge

pnig¢é%' if ZOCS’

Date

for these witnesses is DENIED.

IT IS SO ORDERED.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CV-02140 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

William E. Norcross
NORCROSS LAW FIRM
890 WilloW Tree Circle
Ste. 8

Cordova, TN 38018

Cecil Johnson

91 North Belvedere
Apt. # 15

Memphis7 TN 3 8104

Honorable J. Breen
US DISTRICT COURT

